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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                                      Case No. 1:12-CR-132

 v.                                                             HON. ROBERT HOLMES BELL

 MATTHEW PENALOZA,

             Defendant.
 ____________________________________/


                             MEMORANDUM OPINION AND ORDER

        Defendant Matthew Penaloza has filed a motion for modification or reduction of sentence

 (ECF No. 1521) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

 States Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        However, because there would be no change in the offense level because the total number

 of units would increase from 1.5 to 2.5 and would result in a 3-level increase, as opposed to a 1-level

 increase, the Probation Office has now found Defendant ineligible for a reduction in sentence under

 Guideline Amendment 782. No objections to the report of eligibility have been filed in this matter.
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        Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

 (ECF No. 1521) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




 Dated: June 9, 2015                         /s/ Robert Holmes Bell
                                             ROBERT HOLMES BELL
                                             UNITED STATES DISTRICT JUDGE
